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Attorney for Defendant SEIU Local 668

               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSLYVANIA

                                                )
 Catherine Kioussis,                            )
                                                )
              Plaintiff,                        )   CASE NO. 1:19-cv-01367-JEJ
                                                )
 v.                                             )
                                                )   NOTICE OF RELATED CASE
 Service Employees International Union          )
 Local 668,                                     )
                                                )
              Defendant.                        )
                                                )



       Defendant Service Employees International Union Local 668 (“SEIU Local
 668”) gives notice of a related case within this District.
       On August 7, 2019, Plaintiff Catherine Kioussis filed this putative class
 action complaint against Service Employees International Union Local 668 (“SEIU
 Local 668”), Case No. 19-cv-01367-JEJ. Plaintiff Kioussis is represented by SEIU

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Local 668 for collective bargaining purposes. Plaintiff Kioussis seeks certification
of a class of all employees who paid fair-share fees to SEIU Local 668. See
Kioussis, Dkt. #1 at ¶1. Kioussis seeks a class-wide refund of those fair-share fees
under 42 U.S.C. §1983.
      Previously, on October 18, 2018, Plaintiff Bethany LaSpina filed a putative
class action complaint against SEIU Local 668, among other unions. See LaSpina
v. SEIU Local 668 et al., 3:18-cv-02018-MEM (M.D. Pa.). Plaintiff LaSpina is
represented by SEIU Local 668 for collective bargaining purposes. Plaintiff
LaSpina seeks certification of a plaintiff class that includes all public employees in
Pennsylvania who paid fair-share fees to SEIU Local 668. See LaSpina, Dkt. #41
at ¶45. LaSpina seeks a class-wide refund of those fair-share fees under 42 U.S.C.
§1983.
      Thus, the asserted §1983 claims in Kioussis are the same as claims asserted
against SEIU Local 668 in LaSpina, and the proposed class in Kioussis is
subsumed by the proposed class in LaSpina.




Date: August 21, 2019                   Respectfully Submitted,

                                              /s/Lauren M. Hoye
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                        CERTIFICATE OF SERVICE

           I, LAUREN M. HOYE, hereby certify that I have this day caused a
true and correct copy of the foregoing NOTICE OF RELATED CASE to be served
via the Court’s CM/ECF upon the following:



Counsel for Plaintiff     Charles O. Beckley, II, Esquire
                          Beckley & Madden, LLC
                          212 North Third Street - Suite 301
                          Harrisburg, Pennsylvania 17101




Date: August 21, 2019                     /s/Lauren M. Hoye
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